
57 N.Y.2d 982 (1982)
New York Institute for the Education of the Blind, Appellant,
v.
United Federation of Teachers' Committee for the New York Institute for the Education of the Blind et al., Respondents.
Court of Appeals of the State of New York.
Argued October 7, 1982.
Decided November 9, 1982.
Herman E. Cooper and Jonathan L. Sulds for appellant.
Elizabeth A. Truly and James R. Sandner for United Federation of Teachers' Committee for the New York Institute for the Education of the Blind and another, respondents.
Norbert M. Phillipps and James M. O'Neill for New York State Labor Relations Board, respondent.
Concur: Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER.
Order affirmed, with costs. In declining to entertain a declaratory judgment action in the circumstances of this case the Appellate Division did not abuse its discretion as a matter of law (CPLR 3001).
